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                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,                )
                                         )      Case No. 1:21-cr-175
             v.                          )
                                         )      Judge Timothy J. Kelly
CHARLES DONOHOE,                         )
                                         )
                    Defendant.           )

DEFENDANT DONOHOE’S REPLY TO THE GOVERNMENT’S OPPOSITION TO
   DEFENDANT’S MOTION FOR REVOCATION OF DETENTION ORDER

      Now comes the Defendant, Charles Donohoe by and through counsel and files this

reply in response to the Government’s opposition to his Motion for Revocation of Detention

Order, ECF No. 81. In support of his motion, Mr. Donohoe submits the following:

      A. Background

      The factual and procedural background of this case are recited in Mr. Donohoe’s

Motion for Revocation of Detention Order. ECF 81. On May 5, 2021, a status conference

was held. At the status conference, the Court ordered the Government to file a response to

Mr. Donohoe’s motion by May 17, 2021 and the Defendant to file a Reply by May 24,

2021. On May 17, 2021, the Government filed a response opposing the revocation of the

detention order. ECF 87.

      B. Argument

      1.     The Defendant’s Role in the Offense
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       In their Response, the Government posts several Telegram messages that they

contend support their theory that Mr. Donohoe intended to “create mayhem and disrupt the

proceedings at the Capitol.” ECF 87 The Telegram messages do not support this theory.

Prior to January 6, there were extensive conversations between members of the Telegram

channel, and the upcoming rally was discussed. However, there were no conversations

concerning any plans to cause an insurrection at the Capitol. The fact that the leader of the

Proud Boys announced the leadership of a new chapter is no evidence that Mr. Donohoe

intended to attack the Capitol. Notably, Mr. Donohoe is not named as one of the leaders.

Mr. Donohoe did post the message pasted in the Government’s response (ECF 87 at 4), but

the message does not mention any intent to commit acts of violence or plan to storm the

Capitol. The quote from the video call on December 30 concerning the chain of command

(ECF 87 at 4-5) did not come from Mr. Donohoe. The list of “things to discuss” posted in

Telegram on December 31 (ECF 87 at 5) came from the Proud Boy’s Chairman, not Mr.

Donohoe. Co-defendant Biggs, not Mr. Donohoe posted the statement on January 5 telling

members not to get into any trouble. Id. The “intelligence” posted by Donohoe on January

4, appears to be a copied and pasted tweet sent out by a reporter, Barbara Starr. Id. With

respect to the creation of the new channel on Telegram, the Government has provided no

messages from Mr. Donohoe or anyone else directing members to commit acts of violence

or invade the Capitol on January 6.

       In support of their argument, the Government emphasizes the Telegram messages not

to wear colors. However, this plan was not a secret, that was only uncovered when the

Government gained access to the Telegram messages after January 6. An article in the

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Washingtonian dated December 31, 2020 reported that the Proud Boys did not intend to wear

their traditional colors on January 6. 1 In the article, the decision not to wear colors is

explained - the Proud Boys wanted to blend in with the antifascist groups and

counterprotesters for self-protection. The article recounts that the Proud Boys had been

involved in violence at previous gatherings, specifically that four members of the Proud Boys

had been stabbed at a prior rally. This fits with the dialogue in the Telegram chats. There is

no discussion about going incognito to avoid detection while storming the Capitol.

        On January 6, Mr. Donohoe forwarded messages from the Proud Boys leadership to

the group about where to meet and not to wear colors. He does say that he “had the keys”

until Nordean and Rehl arrived, but there is no evidence that he was in an active leadership

role or involved in any discussion with the group concerning committing acts of violence or

a plan to take over the Capitol.

        When Mr. Donohoe walked past the barriers, they had already been trampled by

others. There is no evidence that the trampling happened at the direction of Mr. Donohoe or

that he had anything to do with their destruction. Most of the Telegram discussions

recounted by the Government in their Response involve others, not Mr. Donohoe. The

comment attributed to Mr. Donohoe “we’re trying,” does not necessarily relate to the

direction of UCC-1 to “push inside!” In fact, Mr. Donohoe never went inside the Capitol,

and there is no evidence that he tried to do so. Looking at the Telegram messages, it is

difficult to determine which message Mr. Donohoe is responding to. The responses are not


1
  Proud Boys Say They’ll “Be Incognito” During January 6 Trump Rallies in DC, The Washingtonian
https://www.washingtonian.com/2020/12/31/proud-boys-say-theyll-be-incognito-during-january-6-trump-rallies-in-dc/
(accessed May 21, 2021)
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nested in a way that shows conversational threads, so it is anyone’s guess as to which post

the “we’re trying” comment was directed.

       With respect to the shield utilized by Dominic Pezzola to break a window at the

Capitol, there is no evidence that Mr. Donohoe had anything to do with how Pezzola obtained

it or how he used it later. Mr. Donohoe is on camera for a few seconds with his hand on the

shield. There is no video showing Mr. Donohoe helping Pezzola transport the shield to the

west terrace of the Capitol building. The video evidence shows the two men in different

places and when the crowd pushes up the stairs, they are not together and they go in separate

directions. The presence of “Milkshake” does not change this. The Government has not put

forth any evidence of communication between Mr. Donohoe and Milkshake, much less a

plan devised by the two men to do anything on January 6.

       As stated before, Mr. Donohoe’s braggadocio after the events of January 6 was just

that. Caught up in the moment, Mr. Donohoe exaggerated his actions. He did not come in

with a “second force.” There is no evidence that “he stood on the line the entire time and

pushed it twice.” Despite his statements concerning the Telegram channel after January 6,

he did not in fact “nuke” it.

       2.     Nature and Circumstances of the Offenses Charged

       In their Response, the Government discusses the messages on the Telegram message

group regarding an alleged plan to storm the Capitol. ECF 87 at 10-12. Mr. Donohoe is not

a contributor to the discussions that took place prior to January 6. As discussed earlier, it is

difficult to determine what he was responding to when he posted on January 6, “We are



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trying.” Mr. Donohoe’s braggadocio after January 6 should not be regarded as evidence of

his participation or knowledge of a plan to invade the Capitol.

       There is no video of Donohoe leading a charge on the Capitol on January 6. The brief

video of him walking with Pezzola and holding the shield does not support the argument that

Mr. Donohoe provided any assistance which enabled Pezzola to carry out the ultimate action

of using the shield to break a window at the Capitol. Other than that brief video, Mr.

Donohoe is never seen that close to Pezzola again.

       The push up the stairs of the West Terrace took Mr. Donohoe with the crowd. He did

not lead the push, nor did he actively push anyone or confront any security officers. The fact

that he had a gaiter on his face could also have been due to the mace and pepper spray in the

air. When Mr. Donohoe reached the top of the stairs, he exited to the left and left the Capitol.

       With respect to Mr. Donohoe’s Telegram posts about incoming law enforcement, a

more reasonable interpretation is that Donohoe was letting others know so that they would

cease their destructive behavior and leave the Capitol. He was not participating in the attack

and was trying to dissuade others from continuing to do so. If he were in fact a leader with

authority over the members, why did he not order them to stop? He did not order them to

stop because he had no such authority. Mr. Donohoe did what he could to try to persuade

others to cease their behavior, including forwarding Vice President Pence’s message asking

everyone to leave the Capitol.

       2.     The Weight of the Evidence

       The Government has provided video and Telegram chats, none of which prove that

Mr. Donohoe was involved in the planning of the attack on the Capitol on January 6.

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       3.     History and Characteristics of the Defendant

       Mr. Donohoe has provided the Court with extensive evidence concerning his military

service, his ties to the community and his lack of criminal history. The Government urges

the Court to find that Mr. Donohoe’s Telegram messages and actions on January 6 cancel 33

years of good behavior. To suggest that if Mr. Donohoe were to be released on home

incarceration with electronic monitoring, he would somehow be able to plan and carry out

an overthrow of the government is not reasonable, given his personal history and the very

restrictive conditions of release that have been recommended.

       4.     Nature and Seriousness of the Danger Posed by Release

       Mr. Donohoe is not a threat to an individual or the community. He does not have the

“wherewithal to help plan and lead a large group of men in a violent attack.” ECF 87 at 15.

There is no evidence that he helped to plan the events of Jan 6, and based on his history and

characteristics, there is certainly no evidence that he could or would do this while on pretrial

release. The two Telegram messages in the Government’s Response are not evidence that

he “remains committed to efforts resist.” ECF 87 at 16 If anything, they are evidence that

he and other Proud Boys are no longer interested in participating in any more rallies. The

fact that Mr. Donohoe discussed a “bug out bag” on Telegram is also not evidence of any

intent to evade prosecution or commit acts of violence. When Mr. Donohoe was arrested,

he was living and working in his hometown of Kernersville, North Carolina, where he had

been before and after January 6. He was at work when he was taken into custody. No

contraband was located on Mr. Donohoe or in his home. No “bug out bag” was seized by



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authorities.   Clearly Mr. Donohoe was not planning to escape law enforcement or

surreptitiously attack the government, nor was he assisting anyone else to do so.

       In light of the above, the recommendation by Pretrial Services that Mr. Donohoe be
placed on pretrial release, with the conditions of home incarceration with his grandmother
serving as third party custodian, and electronic monitoring is appropriate and complies with
the mandate of the Bail Reform Act.

       C. Conclusion

       For the foregoing reasons, Mr. Donohoe respectfully requests that the detention order
be revoked and that he be granted pretrial release.


                                          DATED: May 24, 2021.

                                          BY:

                                          /s/ Lisa S. Costner
                                          __________________________

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                             CERTIFICATE OF SERVICE


   I hereby certify that on May 24, 2021, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such filing

to the following:


Jason McCullough
Luke Jones
Assistant United States Attorneys



Respectfully Submitted,

                                         /s/ Lisa S. Costner
                                         _________________________________

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